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FOR THE WEsTERN DISTRICT OF TENNEssEE 05 JU
WEsTERN DIVISION H ' 9 P h= 95

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IN THE UNITED STATES DISTRICT COURT H`ED m z 1§),(.2.

 

UN]TED STATES OF AMERICA,
Plaintiff,
vs.

No. 04-20500-Ma

LOVANIA BROWNLEE,

\_/\-/\_,/\_/\_/\_/\._/\_/\_/

Defendant.

 

ORDER DIRECTING MARSHAL TO RETURN DEFENDANT TO STATE
CUSTODY PURSUANT TO HlS WAIVER UNDER THE ]NTERSTATE
AGREEN[ENT ON DETA]NERS ACT

 

The defendant, Lovania Brownlee, has filed a Written Waiver of his rights under
the Interstate Agreement 011 Detainers Act. A copy of that waiver is attached to this Order.
Based on that waiver, the United States Marshal is DIRECTED to return Mr. Brownlee to state
custody for the service of his state sentence

lt is 50 ORDERED this ' ° A day of June, 2005.

 

Samuel H. Mays
United States District .Tuclge

 

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lN THE UNI'I`ED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNES SEE

 

WESTERN DIVISION
UNITED STATES OF AME`.RICA, )
Plaintiff, l
vs. l No. 04-20500-Ma
LOVANIA BROWNLEE, §
Defendant. §

 

DEFENDANT’S WAIVER OF INTERSTATE AGREEMENT ON DE'I`AINERS ACT

 

I, lbvania Brownlee, defendant in this case, having discussed with my attorney, Pamela B.
Hamrin, the possible effect of the Interstate Agreement on Detainers on my case, do hereby state:

1. l have previously been sentenced to serve a term of imprisonment by a state court in the
State of Tennessee. I have not completed serving that sentence.

2. Ipresently face charges pursuant to 18 U.S.C. § 922(g) in the United States District Court
for the Western District of Tennessee, and for this reason I have been brought to Memphis,
Tennessee.

3. I have been advised that the Interstate Agreement on Detainers may apply to my case, and
that if so, l have a right to not be returned to my original place of imprisonment in the State of
Tennessee until l have been tried in federal court, and that I will be held in federal custody during
this time. l have been advised that under that agreement, if I am returned to my original place of
imprisonment, the charges against me in federal court will be dismissed.

4. Understanding that I may have a right to have the federal charges against me dismissed

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if I am returned to my original place of imprisonment prior to my trial, as explained above, I
HEREBY WAIVE such right in open court and agree to confinement as a state prisoner in state
facilities until such time as my trial in the United States District Court for the Westem District of
Tennessee is completed lunderstand that by so agreeing, l may be returned to my original place of
imprisonment from time to time and the charges against me in the United States District Court for

the Westem District of Tennessee will not be di smissed.

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Lovania Brownlee, Defendant

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Pamela B. Hamrin, Counsel for Defendant

 

Dated: lar/9 / 0 53

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CR-20500 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

David Pritchard

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Honorable Samuel Mays
US DISTRICT COURT

